Case 5:20-bk-00578-RNO   Doc 27 Filed 07/27/20 Entered 07/27/20 15:42:37   Desc
                         Main Document    Page 1 of 5
Case 5:20-bk-00578-RNO   Doc 27 Filed 07/27/20 Entered 07/27/20 15:42:37   Desc
                         Main Document    Page 2 of 5
Case 5:20-bk-00578-RNO   Doc 27 Filed 07/27/20 Entered 07/27/20 15:42:37   Desc
                         Main Document    Page 3 of 5
Case 5:20-bk-00578-RNO   Doc 27 Filed 07/27/20 Entered 07/27/20 15:42:37   Desc
                         Main Document    Page 4 of 5
Case 5:20-bk-00578-RNO   Doc 27 Filed 07/27/20 Entered 07/27/20 15:42:37   Desc
                         Main Document    Page 5 of 5
